           Case 1:20-cv-05144-RA Document 9 Filed 10/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 SHAEL CRUZ,

                                   Plaintiff,
                                                                   No. 20-CV-5144 (RA)
                              v.
                                                                          ORDER
 FAM, LLC,


                                   Defendant.


RONNIE ABRAMS, United States District Judge:

       On September 10, 2020, the Court granted Defendant until October 9, 2020 to appear or

otherwise respond to the complaint. See Dkt. 8. To date, however, Defendant has not filed any

response. No later than November 2, 2020, Defendant shall file a response to the complaint.

       No later than October 22, 2020, Plaintiff shall serve a copy of this Order on Defendant

and file proof of service on the docket.

SO ORDERED.

 Dated:         October 20, 2020
                New York, New York

                                                   ________________________________
                                                   Ronnie Abrams
                                                   United States District Judge
